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                                                                         FILED: July 25, 2017


                             UNITED STATES COURT OF APPEALS
                                 FOR THE FOURTH CIRCUIT


                                       ___________________

                                            No. 17-1139
                                        (1:16-cv-00329-MR)
                                       ___________________

         PETER K. STERN

                      Petitioner - Appellant

         v.

         UNITED STATES OF AMERICA

                      Respondent - Appellee

                                       ___________________

                                   STAY OF MANDATE UNDER
                                     FED. R. APP. P. 41(d)(1)
                                      ___________________

              Under Fed. R. App. P. 41(d)(1), the timely filing of a petition for rehearing

        or rehearing en banc or the timely filing of a motion to stay the mandate stays the

        mandate until the court has ruled on the petition for rehearing or rehearing en banc

        or motion to stay. In accordance with Rule 41(d)(1), the mandate is stayed pending

        further order of this court.


                                                                   /s/Patricia S. Connor, Clerk



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